                SIXTH DISTRICT COURT OF APPEAL
                       STATE OF FLORIDA
                      _____________________________

                           Case No. 6D2023-0537
                     Lower Tribunal No. 20-CF-000840-E
                     _____________________________

                           KIERRA KASHAYLA RUSS,

                                  Appellant,
                                      v.

                              STATE OF FLORIDA,

                                  Appellee.
                      _____________________________

                 Appeal from the Circuit Court for Lee County.
                          Nicholas Thompson, Judge.

                               August 27, 2024

PER CURIAM.

      AFFIRMED.

STARGEL, WOZNIAK and SMITH, JJ., concur.


Howard L. “Rex” Dimmig, II, Public Defender, and Gary R. Gossett, Jr., Special
Assistant Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Helene S. Parnes, Senior
Assistant Attorney General, Tampa, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
          AND DISPOSITION THEREOF IF TIMELY FILED
